Case 9:21-cv-81898-AMC Document 27 Entered on FLSD Docket 06/01/2022 Page 1 of 2
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                                         UNITED STATES DISTRICT COURT
                                         SO UTH ERN DISTRICT O F FLORIDA
      AngelaE.Noble                                                                      40O North M iamiAvenueyRoom 8N09
      CourtAdm inistrator*ClerkofCourt                                                             M iami,Florida33128-7716
                                                                                                                   (305)523-5100

                                                 Date:M ay 12,2022
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      Clerk ofCircuitand County Courts                                                             '

      15th JudicialCircuitofFlorida                                                                         jd 2222
      Palm Beach County Courthouse                                                                      ANGEL.A E.No: u
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      W estPalm Beach,FL 33491

      RE: DistrictCourtCaseN o.:9:21-cv-81898-AM C
           State CourtCaseNo.:50-020217-CA-008481

     D earSir/M adam :

     Pursuantto28U.S.C.j1447,acertifiedcopyoftheDistrictCourt'sOrderofRemandmustbemailed
     to theClerk ofthe State Court,

     Please acknowledge receiptofthe Orderin theabovereferenced caseby signing andretunzing the enclosed
     copy ofthisletter.


                                                         Clerk'sAcknowledgm entofReceipt
                                                         Theundersigned hereby acknowledgesreceiptofthe
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     AngelaE.Noble,Clerk ofCourt                                                            ê&                       +
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     By /s/CarlosDavis
     Deputy Clerk                                                                          j t.z,j r
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